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     BROWN & CONNERY, LLP
     Christine P. O’Hearn, Esquire
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     360 Haddon Avenue
     Westmont, New Jersey 08108
     (856) 854-8900
     Attorneys for Defendant

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


     KIMBERLY BILLUPS,                                Case No.:

                           Plaintiff,

                        vs.                                   NOTICE OF REMOVAL

     THE DEVEREUX FOUNDATION a/k/a
     DEVEREUX ADVANCED
     BEHAVIORAL HEALTH NEW
     JERSEY,

                           Defendant.


     TO:       Clerk
               United States District Court for the District of New Jersey
               Clarkson S. Fisher Building
               402 East State Street
               Room 2020
               Trenton, New Jersey 08608

               PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,

     Defendant, The Devereux Foundation a/k/a Devereux Advanced Behavioral Health New

     Jersey (“Defendant”), hereby removes this action from the Superior Court of New Jersey,

     Law Division, Mercer County, to the United States District Court for the District of New

     Jersey.




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                              PLEASE TAKE FURTHER NOTICE that the grounds for removal of this

                       action are as follows:

                              1.      On December 10, 2018, Plaintiff, Kimberly Billups (“Plaintiff”)

                       commenced a civil action in the Superior Court of New Jersey, Law Division, Mercer

                       County, entitled and captioned Kimberly Billups v. The Devereux Foundation a/k/a

                       Devereux Advanced Behavioral Health New Jersey, Case No. L-2548-18 (hereinafter, the

                       “State Court Action”). A true and correct copy of the Complaint is attached hereto as

                       Exhibit A.

                              2.      The above-described action is one over which this Court has original

                       jurisdiction under 28 U.S.C. §1332, and is one that may be removed to this Court by

                       Defendant pursuant to 28 U.S.C. §1441, in that it is a civil action between citizens of

                       different states as more fully shown below, and because the amount in controversy

                       exceeds the sum or value of $75,000, exclusive of interests and costs.

                              3.      Plaintiff was at the time of this action commenced and still is a citizen of

                       the State of New Jersey. Specifically, Plaintiff is an individual who is domiciled at 234

                       Maple Avenue, Trenton, New Jersey 08618. See Exhibit A at ¶2.

                              4.      At the time the Complaint was filed, and at all times since, including at the

                       time of this Notice of Removal, Defendant was and is a citizen of the State of

                       Pennsylvania. Specifically, Defendant is a corporation incorporated in the State of

                       Pennsylvania with its principal place of business in the State of Pennsylvania. (See

                       Certification of Christine P. O’Hearn, Esq. at ¶¶2, 3).




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                              5.      Plaintiff did not state a demand for damages in any specific amount in her

                       Complaint. However, the allegations of the Complaint set forth a cause of action of

                       wrongful termination of employment in violation of public policy for which Plaintiff

                       seeks compensatory damages including damages for emotional distress, loss of reputation

                       and other personal injury, consequential damages, punitive damages, enhancement for tax

                       liability, costs of suit, and any other relief the Court deems just. (See Exhibit A at ¶15.)

                       Accordingly, Defendant asserts in good faith that the amount in controversy exceeds

                       $75,000.

                              6.      This Court has jurisdiction over the State Court Action pursuant to 28

                       U.S.C. § 1332 because there is complete diversity of citizenship between the parties and

                       because the amount in controversy exceeds $75,000. Therefore, Plaintiff’s Complaint is

                       removable pursuant to 28 U.S.C. § 1441(a) and (b).

                              7.      This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b)

                       because it was filed within thirty (30) days of Defendant’s receipt of Plaintiff’s

                       Complaint.

                              8.      Venue in this District is proper under 28 U.S.C. § 1441(a) because this

                       District includes the Superior Court of New Jersey, Law Division, Mercer County, the

                       forum wherein this action was pending.

                              9.      Pursuant to 28 U.S.C. § 1446(d), written notice of this Notice of Removal

                       is being promptly served on counsel for Plaintiff and a copy of this Notice of Removal is

                       being promptly filed with the Clerk of the Superior Court of New Jersey, Law Division,

                       Mercer County.

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                              10.    No admission of fact, law, or liability is intended by the filing of this

                       Notice of Removal and Defendant expressly preserves any and all defenses, objections,

                       denials, and/or motions available under state and/or federal law. By filing this Notice of

                       Removal, Defendant does not concede that Plaintiff is entitled to any damages sought in

                       her Complaint.

                              WHEREFORE, Defendant, hereby removes this action from the Superior Court

                       of New Jersey, Law Division, Mercer County, to the United States District Court for the

                       District of New Jersey.

                                                                   Respectfully submitted,

                                                                   BROWN & CONNERY, LLP
                                                                   Attorneys for Defendant

                       Date: March 8, 2019                     By: s/ Christine P. O’Hearn
                                                                   Christine P. O’Hearn, Esquire
                                                                   Kayla L. Louis, Esquire




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                                                   CERTIFICATE OF SERVICE


                               I, Christine P. O’Hearn, Esquire, hereby certify that, on March 8, 2019, I caused

                       a true and correct copy of Defendant’s Notice of Removal, and supporting documents, to

                       be served via electronic filing and/or regular mail upon the following:

                                                             Thaddeus P. Mikulski, Jr., Esq.
                                                             116 Washington Crossing Road
                                                             Pennington, NJ 08543
                                                             Attorney for Plaintiff

                                                             Clerk, Law Division
                                                             Superior Court of New Jersey
                                                             Mercer County Court
                                                             175 South Broad Street
                                                             Trenton, NJ 08650-0068

                                                             Michelle M. Smith, Clerk
                                                             Superior Court of New Jersey
                                                             Hughes Justice Complex
                                                             25 W. Market Street
                                                             P.O. Box 971
                                                             Trenton, New Jersey 08625




                       Date: March 8, 2019                                  BROWN & CONNERY, LLP


                                                                                   /s/ Christine P. O’Hearn
                                                                                   Christine P. O’Hearn, Esq.




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                          EXHIBIT A
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